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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )   No.     1:21-cr-28-1 (APM)
                                                )
THOMAS CALDWELL,                                )
                                                )
                        Defendant.              )

             GOVERNMENT’S SURREPLY TO DEFENDANT’S REPLY
        IN SUPPORT OF REQUEST TO MODIFY CONDITIONS OF RELEASE

       Defendant Thomas Caldwell’s motion to modify conditions of release should be denied in

part and granted in part, as explained in greater detail in the government’s initial response, ECF

533. The representations made in the defendant’s Reply, ECF 544, regarding statements allegedly

made by undersigned government counsel during a reverse proffer session, are inaccurate. The

true nature of the evidence discussed during the reverse proffer counsels strongly against any

lightening of the restrictions on Defendant Caldwell’s movements.

       In his Reply, Defendant Caldwell claims that, at a reverse proffer on October 5, 2021,

undersigned government counsel was asked whether there was any proof or evidence that Caldwell

or his co-defendants devised a plan to specifically attack the Capitol on January 6, 2021, and

responded, simply, “No.” ECF 544 at ¶ 7. That is false. In fact, undersigned government counsel

showed Defendant Caldwell and his counsel Defendant Caldwell’s own words stating that he

formed an agreement with those around him on January 6, 2021, to “storm” and “take” the Capitol,

and that he was coordinating with his co-defendants:

              “Then we heard that Pence fucked us. Wr had over a million oeople here. Then

               the lying media said Trump supporters were breaking through barricades so i said

               if we’re going to get blamed, might as well do it so I grabbed up my American flag

               and said let’s take the damn capitol so people started surging forward and climbing
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                  the scaffolding outside so I said lets storm the place and hang the traitors.

                  Everybody thought that was a good idea so we did.” (Emphasis added.)

                 “[W]e climbed the steps after breaking 2 rows of barricades, yhen got on the

                  parapets and the people in front of me broke throgh the doors and started duking it

                  out with the pigs who broke and ran. Then we started stealing the cops riot shields

                  a d throwing fire extinguishers through windows. It was a great time.”

                 “Most of my Oathkeeper pals went to the other side of the capitol because it was so

                  darn crowded where I was. They were giving me live go-pro feeds from their side.

                  . . . [O]n the other side, oathkeepers had pushed the doors open 3 sets of doors as

                  you go in that side and actually made it to the rotunda.”

       Additionally, during the reverse proffer, undersigned counsel showed Defendant Caldwell

and his counsel numerous statements showing Defendant Caldwell’s intent and preparations to

join with his co-defendants to use any means necessary, up to and including the use of force, to

stop the lawful transfer of power from President Trump to President Biden. Many of these

statements showed a focus on the proceedings of January 6, 2021, although they did not contain

an explicit reference to forcibly taking control of the Capitol. These statements included but were

not limited to:

                 Defendant Caldwell’s December 4, 2020 message to Person Three: “[M]aybe I

                  should be planning a MUCH bigger op, for like when we have to roll into town to

                  actually save the Republic.”

                 Person Three’s December 21, 2020 message to Defendant Caldwell providing a

                  link to Person One’s Open Letter to President Trump, in which Person One

                  implored President Trump to invoke the Insurrection Act and issue a “call to arms”

                  to groups like the Oath Keepers to help him stop President Biden from assuming
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      the presidency. Evidence from Defendant Caldwell’s phone, which has been

      provided to Defendant Caldwell’s counsel in discovery, suggest Defendant

      Caldwell clicked on the link sent by Person Three.

     Defendant Caldwell’s December 22, 2020 message to Person Five (the leader of

      the chapter of Oath Keepers to which Person Three belonged): “Spoke with [Person

      Three] last night. I will be at the march on the 6th. I have booked a hotel room in

      arlington. We do not yet know what may go down but this room gives us a spot to

      stage materials should things go high order. 10 minutes from the potomac. [Person

      Two] and I will be there 5th and 6th. Wanted you to know this for contingency

      planning. Close hold you and [Person Three] only for now, pls.”

     Defendant Caldwell’s January 1, 2021 message to co-defendant Donovan Crowl

      letting him know that Person Three had booked a room at the same hotel where

      Caldwell, Crowl, and co-defendant Jessica Watkins would be staying and that

      Person Three “will be the quick reaction force” and “will have the goodies in case

      things go bad and we need to get heavy.” Defendant Caldwell also noted that the

      hotel had “quick access to the city.”

     Person One’s December 25, 2020 message to the “OKFL Hangout” Signal chat in

      which he stated, in pertinent part, “If Congress rubber stamps an unconstitutional

      fraud, President Trump must defend the Constitution and we URGE him to use the

      Insurrection Act to do so. And we will support him with our boots on the ground .

      . . . And he needs to know that if he fails to act, then we will. He needs to

      understand that we will have no choice.”

     Defendant Caldwell’s December 31, 2020 Facebook comment stating, “It begins

      for real Jan 5 and 6 on Washington D.C. when we mobilize in the streets. Let them
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               try to certify some crud on capitol hill with a million or more patriots in the streets.

               This kettle is set to boil…[.]”

              Numerous messages showing Defendant Caldwell’s efforts to procure a boat so that

               “we could have our Quick Response Team with the heavy weapons standing by,

               quickly load them and ferry them across the river to our waiting arms.”

              Defendant Caldwell’s January 3, 2021 message to Person Three letting Person

               Three know, “I’m calling it a night. Got feelers out on the boat idea, will finish

               new map tomorrow. Early wake up full day tomorrow. Sleep well, bro: CAG is o

               the case!”

              Defendant Caldwell’s January 4, 2021 messages to Person Three, sending him

               maps showing how to get from the hotel location in Arlington, Virginia, into

               Washington, D.C., to the “target area.”

       Finally, Defendant Caldwell’s Reply asserts that, at the reverse proffer, undersigned

government counsel was asked to identify the “video” of evidentiary value that Defendant

Caldwell allegedly destroyed/unsent, and undersigned government counsel “indicated that law

enforcement did not recover the video and, hence, was unaware of the video’s content.” ECF 544

at ¶ 8. While the video has not been recovered, because Defendant Caldwell removed it,

undersigned counsel pointed out that the video was sent in a thread between Defendant Caldwell

and co-defendant Crowl in which the two were earlier sending each other photos and videos

documenting their actions at the Capitol on January 6, 2021. The government also showed counsel

where the Facebook records suggest the video was “Removed by Sender” on January 14, 2021,

the day that Crowl and Watkins traveled from Ohio to Virginia to stay with Caldwell, and Caldwell

directed them to “double back an exit or two at least twice to make sure you’re not followed[.]”


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                                         CONCLUSION

       The information actually provided by the government to defense counsel during the reverse

proffer paints a picture of the defendant’s involvement in this conspiracy that cautions strongly

against lessening the restrictiveness of his conditions of release. WHEREFORE, the United States

respectfully submits that an easing of Defendant Caldwell’s property confinement is not

appropriate and requests that his motion to modify conditions of release be denied in that respect,

but granted in part to permit him to utilize the Internet solely to review discovery and correspond

with his counsel in this case.



                                       Respectfully submitted,

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